

People v Foy (2025 NY Slip Op 02796)





People v Foy


2025 NY Slip Op 02796


Decided on May 7, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 7, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
CHERYL E. CHAMBERS
LOURDES M. VENTURA
JAMES P. MCCORMACK, JJ.


2023-00719
 (Ind. No. 70707/22)

[*1]The People of the State of New York, respondent,
vPerry Foy, appellant.


Arza Feldman, Manhasset, NY, for appellant.
Susan Cacace, District Attorney, White Plains, NY (Alexandra C. Krueger and Raffaelina Gianfrancesco of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the Supreme Court, Westchester County (James A. McCarty, Jr., J.), rendered December 1, 2022, convicting him of aggravated harassment of an employee by an incarcerated individual, upon his plea of guilty, and imposing sentence.
ORDERED that the judgment is affirmed.
Contrary to the defendant's contention, the record demonstrates that he validly waived his right to appeal (see People v Bryant, 28 NY3d 1094; People v Batista, 167 AD3d 69, 73-74). His valid appeal waiver precludes appellate review of his contentions that the sentence imposed was excessive and constituted cruel and unusual punishment (see People v Lopez, 6 NY3d 248, 256; People v Myke, 232 AD3d 913).
DILLON, J.P., CHAMBERS, VENTURA and MCCORMACK, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








